                                                                                                           Form:def2

                                 UNITED STATES BANKRUPTCY COURT
                                       Eastern District of Michigan
                                          211 West Fort Street
                                            Detroit, MI 48226


                                              Case No.: 18−54684−mar
                                                    Chapter: 11
In Re: (NAME OF DEBTOR(S))
   Triton Automation Group LLC
   2021 Cleveland Avenue
   Port Huron, MI 48060
Social Security No.:

Employer's Tax I.D. No.:
  45−4830770

                                       NOTICE OF DEFICIENT FILING

It has been determined that the following document(s) are Missing and/or Non−Compliant:

30 − Schedules A−J , Summary of Assets and Liabilities, Statement of Financial Affairs, Attorney Compensation
Statement Filed by Debtor In Possession Triton Automation Group LLC (RE: related document(s)1 Voluntary
Petition (Chapter 11)). (Schneider, Peter)

Declaration regarding Schedules a−j missing

is defective as indicated:

    Acceptable List of Creditors Missing
    Acceptable List of Creditors Not Uploaded
    Amended Document Missing or Non−Compliant (To be filed with Cover Sheet for Amendments in its entirety
    as one PDF)
    Application to Have the Chapter 7 Filing Fee Waived Missing or Non−Compliant
    Bankruptcy Petition Cover Sheet Missing or Non−Compliant
    Bankruptcy Matter Civil Case Cover Sheet Missing
    Brief Missing
    Certificate of Exigent Circumstances−Credit Counseling Waiver Missing
    Chapter 13 Plan is Non−Compliant
    Cover Sheet for Amendments to Schedules and or Statements Missing or Non−Compliant (To be filed with
    corrected document in its entirety as one PDF)
    Electronic Signature does not match login
    Electronic Signature Missing or Incorrect Format ECF Procedure 11 (d)(1)
    List of 20 Largest Unsecured Creditors Missing
    Motion for Approval of Certificate of Exigent Circumstances (109)(h)(3)(A) Missing
    Motion to Convert under 11 USC 706(a)(Rule 9013) Missing
    Motion to Excuse Credit Counseling (109)(h)(4) Missing
    Notice of Objection to Claim Missing or Non−Compliant
    Notice of Special Appearance (LBR 9010−1(c)) Missing or Non−Compliant
    Notice to Respondent Missing or Non−Compliant
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    Original Signature Missing or Non−Compliant
    Petition Non−Compliant (To be filed in its entirety)
    Proof of Service Missing or Non−Compliant
    Proposed Order Missing
    Statement of Attorney for Debtors 2016b LBR 9010−1c Missing or Non−Compliant
    Statement of Corporate Ownership Missing
    Statement of Petition Preparer Pursuant to F.R.Bankr.P.2016 (c) Missing
A corrected/missing document must be filed with the court within seven (7) days of this notice. If not corrected, the
case may be dismissed or an order striking the document from the record may be entered by the Court. The new
document filed should be identified as "CORRECTED".


Dated: 11/14/18
                                                                    BY THE COURT



                                                                    Katherine B. Gullo , Clerk of Court
                                                                    U.S. Bankruptcy Court




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